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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                      CR-16-19-GF-BMM

        Plaintiff,                              ORDER

 v.

 ENCORE SERVICES, LLC and
 ZACHARY BROOKE ROBERTS,
 MARTIN GASPAR MAZZARA, and
 RICHARD LEE BROOME,

        Defendants.

      Non-Party, The Chippewa Cree Tribe has moved for admission of Richard
J. Zack, (Mr. Zack), (Doc. 123), to practice before this Court in this case with
Maxon R. Davis, Esq. Mr. Zack’s application appears to be in compliance with
L.R. 83.1(d).

      IT IS HEREBY ORDERED:

      Non-Party The Chippewa Cree Tribe’s motion to allow Mr. Zack to appear

on its behalf (Docs. 123) is GRANTED on the following conditions:


      1. Local counsel Mr. Davis will be designated as lead counsel or as co-lead

counsel with Mr. Zack. Mr. Zack must do his own work. He must do his own

writing, sign his own pleadings, motions, briefs and other documents served or

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filed by him, and, if designated co-lead counsel, must appear and participate

personally in all proceedings before the Court. Local counsel, Mr. Davis shall

also shall also sign such pleadings, motions and briefs and other documents

served or filed.


      2. Admission is not granted until Mr. Zack, within fifteen (15) days from

the date of this Order has filed an acknowledgment and acceptance of his

admission under the terms set forth above.


      3. Admission is personal to Mr. Zack.

      DATED this 3rd day of January, 2017.




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